          IN THE DISTRICT COURT OF THE UNITED STATES
         FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                       ASHEVILLE DIVISION

                             CIVIL NO. 1:05CV57
                                (1:02CR45-8)


RICHARD RAY HUGHES,                        )
                                           )
                        Petitioner,        )
                                           )
            Vs.                            )     MEMORANDUM AND
                                           )        ORDER
UNITED STATES OF AMERICA,                  )
                                           )
                        Respondent.        )
                                           )


      THIS MATTER is before the Court on the Petitioner’s motion

pursuant to 28 U.S.C. § 2255 to vacate, set aside or correct his sentence,

filed March 7, 2005.

      A prisoner in federal custody may attack his conviction and sentence

on the grounds that it is in violation of the Constitution or United States law,

was imposed without jurisdiction, exceeds the maximum penalty, or is

otherwise subject to collateral attack. 28 U.S.C. § 2255. However,

      [i]f it plainly appears from the face of the motion and any
      annexed exhibits and the prior proceedings in the case that the
      movant is not entitled to relief in the district court, the judge
      shall make an order for its summary dismissal and cause the
      movant to be notified.


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Rule 4, Rules Governing Section 2255 Proceedings for the United

States District Courts. The Court, having reviewed the record of criminal

proceedings, enters summary dismissal for the reasons stated herein.



                        I. PROCEDURAL HISTORY

      On June 12, 2002, the Petitioner was charged in a superseding bill of

indictment with conspiracy to possess with intent to distribute at least 50

grams of a mixture or substance containing a detectable amount of

methamphetamine, in violation of 21 U.S.C. § 846. Superseding Bill of

Indictment, filed June 12, 2002. The Petitioner elected to go to trial and

on November 6, 2002, he was found guilty by jury verdict as charged.

Verdict Sheet, filed November 6, 2002. The jury specifically found that

the conspiracy was involved with at least 50 grams of a mixture or

substance containing a detectable amount of methamphetamine. Id. The

jury also found that the Petitioner knew of or reasonably could have

foreseen the involvement of the conspiracy with this quantity of

methamphetamine. Id. at 2.

      On May 22, 2003, the undersigned sentenced the Petitioner to 192

months incarceration. Judgment in a Criminal Case, filed June 11,



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2003. The Petitioner appealed his conviction and sentence. Notice of

Appeal, filed June 18, 2003. The United States Fourth Circuit Court of

Appeals affirmed his conviction and sentence on March 16, 2004. United

States v. Hughes, 95 F. App’x 467 (4th Cir. 2004). The Circuit rejected

the Petitioner’s arguments that the evidence was insufficient to sustain his

conviction and he should have received a two point reduction for being a

minor participant in the conspiracy. Id., at 469. The Petitioner’s co-

defendant filed a petition for a writ of certiorari but the petition was denied

by the Supreme Court on October 4, 2004. Carrizoza v. United States,

543 U.S. 849 (2004).

      On March 7, 2005, Petitioner timely filed this § 2255 motion raising

as grounds for relief ineffective assistance of counsel and an improper

enhancement of his sentence by the undersigned.

      On May 18, 2005, an attorney wrote to the Magistrate Judge advising

that she represented the Petitioner. Letter from Victoria Jayne, filed

May 18, 2005. On that same date, the attorney was advised by the

Magistrate Judge that she needed to file a notice of general appearance.

Letter, dated May 18, 2005. Ms. Jayne has never filed such a notice and




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the Court does not consider her to represent the Petitioner. Moreover, no

other pleadings have ever been presented to the Court by Ms. Jayne.

      On July 31, 2006, the undersigned required the Government to file

response to the motion. Order, filed July 31, 2006. On August 30, 2006,

the Government filed response and included the affidavit of the Petitioner’s

trial counsel. Response, filed August 30, 2006. On September 19, 2006,

the Petitioner, acting in a pro se capacity, moved for an extension of time

to file a reply to the response; on October 23, 2006, he filed such response

along with his additional affidavit. Motion for Extension of time, filed

September 19, 2006; Reply and Memorandum of Law, filed October

23, 2006; Affidavit of Richard Ray Hughes, filed October 23, 2006. The

Petitioner does not mention Ms. Jayne as his attorney and represented to

the Court that he did not have counsel.

      The Court finds that the Petitioner’s motion for an extension of time

to file reply should be granted. The matter is now ripe for disposition.



                              II. DISCUSSION

      In the Petitioner’s motion, he claims that he received ineffective

assistance of counsel in the following manners: (1) trial counsel failed to



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advise him that he should accept the offer of the United States to a plea

bargain for 7 years (84 months) imprisonment; (2) appellate counsel was

ineffective in failing to petition the Supreme Court for a writ of certiorari

based on the decision of Blakely v. Washington, 542 U.S. 296 (2004),

because the jury did not determine the quantity of drugs attributable to him;

(3) appellate counsel was ineffective in failing to notify him that his appeal

had been denied so that he could petition the Supreme Court based on

Blakely and United States v. Booker, 543 U.S. 220 (2005), because the

jury did not determine the quantity of drugs; (4) both trial and appellate

counsel were ineffective in failing to argue Apprendi v. New Jersey, 530

U.S. 466 (2000); and (5) the undersigned erred by enhancing the

Petitioner’s sentence on facts not determined by the jury and included in

the indictment.

      In considering Petitioner's claims that he has not received adequate

assistance of counsel,

      [f]irst, the defendant must show that counsel's performance
      was deficient. This requires showing that counsel made errors
      so serious that counsel was not functioning as the "counsel"
      guaranteed the defendant by the Sixth Amendment. Second,
      the defendant must show that the deficient performance
      prejudiced the defense. This requires showing that counsel's
      errors were so serious as to deprive the defendant of a fair trial,
      a trial whose result is reliable.


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Strickland v. Washington, 466 U.S. 668, 686 (1984). Unless a defendant

makes both showings, his claim of ineffective assistance of counsel must

fail. Id. Thus, a defendant must show that counsel's performance fell

below objective standards of reasonableness and, that but for his conduct,

there was a reasonable probability the result would have been different.

Id., at 688; Hill v. Lockhart, 474 U.S. 52 (1985); Fields v. Attorney Gen.,

956 F.2d 1290, 1297 (4th Cir. 1992) (In order to obtain relief from a

guilty plea on the basis of ineffective assistance of counsel, a

defendant must show both that counsel was incompetent and but for

that incompetence, he would not have pled guilty.). If the defendant

fails to make the first showing, there is no need to consider the second.

Strickland, supra.

     In support of the petition, the Petitioner filed the affidavit of his wife

who averred that she was present during consultations between the

Petitioner and his attorney and “my husband told his attorney that he was

guilty of drug trafficking. The only objection that he had was the drug

amount and not the offense charged.” Affidavit of Angela Johnson

Hughes, attached to Petitioner’s § 2255 Motion, filed March 7, 2005,

¶¶ 3-4. She also averred that trial counsel advised the Petitioner not to



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take the offer of a plea agreement from the Government and to go to trial.

Id. ¶¶ 5-6.

      The Petitioner also filed his own affidavit in which he averred that he

admitted his involvement in the drug conspiracy to his attorney. Affidavit

of Richard Ray Hughes, attached to § 2255 Motion, ¶ 2. He

acknowledged that his attorney did advise him of the plea offer from the

Government. Id. ¶ 4. However, the Petitioner claims that counsel advised

against the offer and recommended going to trial. Id. ¶ 5.

      In response to these claims, the Government filed the affidavit of the

Petitioner’s trial counsel, Gregory Newman. Mr. Newman averred that he

reviewed the discovery in the case and the terms of the proposed plea

agreement with the Petitioner. Affidavit of Gregory A. Newman,

attached to Government’s Response and Submission of Affidavit,

filed August 30, 2006, ¶ 3. He also averred that there was never an offer

from the Government for a seven year sentence. Id. “As in all cases, the

plea offer was very clear that there was no guarantee as to the sentence

upon the acceptance of a plea of guilty, and I made that clear to the

Petitioner.” Id. “I never advised the Petitioner what decision he should

make, but made it clear to him, as I do in all cases with my clients, that the



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decision whether to plead guilty or to take the matter to trial had to be

made by him alone.” Id. Mr. Newman also averred that the Petitioner at

no time admitted his guilt. Id. “[T]here was never any guarantee of a

length of sentence in [the plea offer in] this case.” Id. ¶ 4.

      In reply to this affidavit, the Petitioner further averred that trial

counsel “at no time prior to, during, or since my trial did former counsel

ever discuss the terms of the government’s proposed plea agreement with

me.” Affidavit of Richard Ray Hughes, filed October 23, 2006, ¶ 2. The

Petitioner then contradicts himself by stating that counsel advised him the

plea agreement contained an offer for a seven-year sentence. Id. In his

supplemental reply, the Petitioner once again contradicts himself by

making the following claim: “While it may be true that Mr. Newman might

not have stated that the plea agreement contained a seven (7) year

provision, Mr. Newman nonetheless informed both Mr. and Mrs. Hughes

that the sentence would be even (7) years if Mr. Hughes pled guilty.”

Petitioner’s Reply and Memorandum of Law, supra, at 5 (emphasis

added).

      The first issue for consideration is whether an evidentiary hearing is

required to resolve this dispute. The Rules governing such cases require



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the Court to review “the answer, any transcripts and records of prior

proceedings, and any material submitted [to expand the record] to

determine whether an evidentiary hearing is warranted.” Rule 8, Rules

Governing Section 2255 Proceedings for the United States District

Courts. The Court finds that the Petitioner has contradicted his own sworn

statement that his attorney told him the plea agreement contained an offer

for a seven year sentence. Reply, supra (“While it may be true that Mr.

Newman might not have stated that the plea agreement contained a

seven (7) year provision . . . [.]”). Both the Petitioner and his wife have

averred that counsel did discuss the plea agreement with him and the

Petitioner has now admitted that counsel did not “technically” tell him the

offer was for a seven-year sentence. This is precisely what counsel

averred in his affidavit. Moreover, the Petitioner has not placed a copy of

the plea agreement in the record; thus, whether it would have offered the

seven-year sentence has not been shown. Gallo-Vasquez v. United

States, 402 F.3d 793, 798 (7th Cir. 2005) (“The motion does not attach a

copy of the proposed agreement, state when or by whom the offer

was made, or give any details other than to assert that it

contemplated a 48-month sentence.”). The undersigned does not find



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this record shows a true factual conflict the resolution of which requires an

evidentiary hearing. United States v. White, 366 F.3d 291, 297 (4th Cir.

2004) (“[O]ften, after discovery, a court may determine that no

material facts are disputed, and so can resolve even non-frivolous

allegations on summary judgment.”); Raines v. United States, 423

F.2d 526, 531 (4th Cir. 1970) (Petitioner “alleges specific facts, but they

are refuted by the files and records of the case.”); Medearis v. United

States,      F.Supp.2d       , 2006 WL 3833925, at *3 (D.S.C. 2006) (“An

evidentiary hearing need not be held ‘if . . . the allegations cannot be

accepted as true because they are contradicted by the record,

inherently incredible or conclusions rather than statements of fact.’”)

(quoting Buster v. United States, 447 F.3d 1130, 1132 (8th Cir. 2006)

(other citations omitted).

      The “Sixth Amendment right to effective assistance of counsel

extends to assistance rendered when deciding whether to reject a plea

offer.” Almonacid v. United States, 476 F.3d 518, 521 (7th Cir. 2007).

Nonetheless, trial counsel’s performance is within the range of competence

if he informed the defendant of the charges, the plea offer, the range of

sentence if convicted and the sentence under the plea offer. Id. at 521



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n.1. The Petitioner alternately claims that Newman advised him that he

would likely face a seven-year sentence. Assuming arguendo that

Newman gave such advice, a “miscalculation or erroneous sentence

estimation by defense counsel is not a constitutionally deficient

performance rising to the level of ineffective assistance of counsel.”

United States v. Gordon, 4 F.3d 1567, 1570 (10th Cir. 1993); Bethel v.

United States, 458 F.3d 711, 717 (7th Cir. 2006), cert. denied, 127 S. Ct.

1027 (2007) (“An inaccurate prediction of a sentence alone is not

enough to meet the standard [of ineffective assistance].”); United

States v. Foster, 68 F.3d 86, 87-88 (4th Cir. 1995).

      [T]he sentencing consequences of guilty pleas (or, for that
      matter, guilty verdicts) are extraordinarily difficult to predict.
      Although the sentencing guidelines significantly restrict the
      sentencing discretion of the district courts, that discretion is still
      extensive, and predicting the exercise of that discretion is an
      uncertain art. Therefore, . . . a mistaken prediction is not
      enough in itself to show deficient performance, even when that
      mistake is great[.]

United States v. Barnes, 83 F.3d 934, 940 (7th Cir. 1996). Such is not

the case here.

      Next, the Petitioner claims that his appellate counsel failed to advise

him of his right to file a petition for a writ of certiorari with the Supreme




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Court to assert a Blakely claim. The United States Fourth Circuit Court of

Appeals decided the Petitioner’s direct appeal on March 16, 2004.

Assuming arguendo that his appellate counsel should have filed a petition

for a writ of certiorari with the United States Supreme Court, the Blakely

decision was not decided until August 23, 2004, well after the 90-day

period within which such a petition must have been filed.

      The Petitioner also claims that his appellate counsel should have

predicted the holding in Blakely, where the Supreme Court held that

Washington State’s statutory sentencing scheme violated Apprendi

because the sentencing court used aggravating factors, to which the

defendant had not stipulated in his plea agreement, to enhance the

defendant’s sentence above the sentencing guideline range. However,

Blakely does not apply retroactively to convictions, like the Petitioner’s, that

were final at the time that case was decided. United States v. Price, 400

F.3d 844 (10th Cir.), cert. denied, 126 S. Ct. 731 (2005); Varela v. United

States, 400 F.3d 864 (11th Cir.), cert. denied, 126 S. Ct. 312 (2005);

Cooper-Smith v. Palmateer, 397 F.3d 1236 (9th Cir.), cert. denied, 126

S. Ct. 442 (2005); Green v. United States, 397 F.3d 101, 103 (2d Cir.

2005); United States v. Fowler, 133 F. App’x 922 (4th Cir. 2005).



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       Moreover, there was no Blakely error in the Petitioner’s case

because the jury returned a verdict which specifically found both the drug

quantities attributable to the conspiracy as well as to the Petitioner

individually. In short, because of the jury verdict, the Petitioner suffered

neither a Blakely nor an Apprendi1 error.

       To the extent that the Petitioner may have asserted a claim pursuant

to Booker, that claim is rejected as well. In Booker, the Supreme Court

held that the United States Sentencing Guidelines, as a mandatory

sentencing procedure, are unconstitutional but that they may be used as

an advisory guide by sentencing courts. The Fourth Circuit, as well as

every circuit court which has addressed the issue of whether Booker may

be applied retroactively to cases on collateral review, has held that Booker

is not retroactive. United States v. Morris, 429 F.3d 65 (4th Cir. 2005),

cert. denied, 127 S. Ct. 121 (2006) (Although Booker is a new rule of

constitutional law, it is not a watershed rule and therefore does not



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    In Apprendi, the Supreme Court held that other than a prior conviction,
any fact that increases the penalty for a crime beyond the prescribed
statutory maximum must be submitted to the jury and proven beyond a
reasonable doubt. The Apprendi decision does not apply retroactively to
cases on collateral review. San-Miguel v. Dove, 291 F.3d 257 (4th Cir.
2002).


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apply retroactively to cases on collateral review.); United States v.

Foster, 185 F. App’x 225 (4th Cir. 2006); Fowler, supra; In re Zambrano,

433 F.3d 886 (D.C. Cir. 2006); United States v. Cruz, 423 F.3d 1119 (9th

Cir. 2005); United States v. Bellamy, 411 F.3d 1182 (10th Cir. 2005);

Lloyd v. United States, 407 F.3d 608 (3d Cir.), cert. denied, 126 S. Ct.

288 (2005); Guzman v. United States, 404 F.3d 139 (2d Cir.), cert.

denied, 126 S. Ct. 731 (2005); Humphress v. United States, 398 F.3d

855 (6th Cir.), cert. denied, 126 S. Ct. 199 (2005); McReynolds v. United

States, 397 F.3d 479, 481 (7th Cir.), cert. denied, 545 U.S. 1110 (2005)

(“We conclude, then, that Booker does not apply retroactively to

criminal cases that became final before its release on January 12,

2005.”); Green, supra; In re Anderson, 396 F.3d 1336, 1339 (11th Cir.

2005).

     Because Petitioner failed to show that “counsel made errors so

serious that counsel was not functioning as the ‘counsel’ guaranteed the

defendant by the Sixth Amendment,” the second prong of Strickland need

not be reached.




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                                III. ORDER

      IT IS, THEREFORE, ORDERED that the Petitioner’s motion pursuant

to 28 U.S.C. § 2255 is hereby DENIED. A Judgment dismissing this action

is filed herewith.


                                     Signed: March 16, 2007




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